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19
                                 UNITED STATES DISTRICT COURT
20                             NORTHERN DISTRICT OF CALIFORNIA
21   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
22   JEREMY DAVIS, CHRISTOPHER
     CASTILLO, and MONIQUE TRUJILLO                    PLAINTIFFS’ UNOPPOSED MOTION
23   individually and on behalf of all other similarly FOR FINAL APPROVAL OF CLASS
     situated,                                         ACTION SETTLEMENT
24
                              Plaintiffs,            Judge: Hon. Yvonne Gonzalez Rogers
25         v.                                        Date:     July 30, 2024
                                                     Time:     2:00 p.m.
26   GOOGLE LLC,                                     Location: Courtroom 1 – 4th Floor
27                            Defendant.


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 1          PLEASE TAKE NOTICE that on July 30, 2024, at 2:00 p.m., the undersigned will appear

 2   before the Honorable Yvonne Gonzalez Rogers of the United States District Court for the

 3   Northern District of California to move the Court for an order granting final approval of the

 4   parties’ class action settlement (Ex. 1, the “Settlement”).1

 5          This Motion is brought under Paragraph 17 of the Court’s Standing Order in Civil Cases

 6   and the Northern District of California’s Procedural Guidance for Class Action Settlements, and

 7   it is based on this Notice of Motion and Motion, the accompanying Memorandum of Points and

 8   Authorities, the concurrently filed declarations and accompanying exhibits of Mark Mao and

 9   Chris Thompson, the consolidated declaration of David Boies, Bill Carmody, and John

10   Yanchunis, the declarations on behalf of all of the class representatives, all matters of which the

11   Court may take judicial notice, other pleadings and papers on file in this action, and other written

12   or oral argument that Plaintiffs may present to the Court.

13          Google supports final approval of the settlement, but disagrees with the legal and factual

14   characterizations contained in the Motion.

15                                      ISSUE TO BE DECIDED

16          Whether the Court should grant final approval of the parties’ settlement.

17                                       RELIEF REQUESTED

18          Plaintiffs respectfully ask the Court to grant final approval of the parties’ settlement.

19

20   Dated: April 1, 2024
                                                   By: /s/ Mark C. Mao
21

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27     Unless otherwise noted, exhibit references are to the supporting declaration by Mark C. Mao,
     submitted on behalf of the three firms (Boies Schiller Flexner, Susman Godfrey, and Morgan &
28   Morgan) who together litigated this action and obtained this settlement.
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 1   I.     INTRODUCTION
 2          This settlement is an historic step in requiring dominant technology companies to be
 3   honest in their representations to users about how the companies collect and employ user data,
 4   and to delete and remediate data collected. Plaintiffs secured a groundbreaking settlement that
 5   yields substantial benefits for every single class member, including:
 6          Changes to Google’s disclosures: Google with this Settlement agrees to rewrite its
 7   disclosures to inform users that “Google” collects private browsing data, including by explicitly
 8   disclosing that fact in its Privacy Policy and on the Incognito Splash Screen that automatically
 9   appears at the beginning of every Incognito session. Plaintiffs obtained a Settlement where
10   Google has already begun implementing these changes, without waiting for final court approval.
11          Deletion and remediation of private browsing data: While disclosure changes ensure
12   transparency going forward, Plaintiffs also demanded and secured accountability and relief for
13   Google’s past conduct. Upon approval of this Settlement, Google must delete and/or remediate
14   billions of data records that reflect class members’ private browsing activities. This includes data
15   Google collected during the class period from private browsing sessions.
16          Limits on future data collection: For the next five years, Google must also maintain a
17   change to Incognito mode that enables Incognito users to block third-party cookies by default.
18   This change is important given Google has used third-party cookies to track users in Incognito
19   mode on non-Google websites. This requirement ensures additional privacy for Incognito users
20   going forward, while limiting the amount of data Google collects from them.
21          Removal of private-browsing detection bits: Google must delete the private browsing
22   detection bits that Plaintiffs uncovered, which Google was (twice) sanctioned for concealing. As
23   a result, Google will no longer track people’s choice to browse privately.
24          No release of monetary claims: Consistent with the Court’s certification order, Plaintiffs
25   insisted on retaining class members’ rights to sue Google individually for damages. That option
26   is important given the significant statutory damages available under the federal and state wiretap
27   statutes. These claims remain available for every single class member, and a very large number
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 1   of class members recently filed and are continuing to file complaints in California state court
 2   individually asserting those damages claims in their individual capacities.
 3          Securing this relief through Settlement is especially valuable because Google argued
 4   these changes exceed the Court’s inherent authority to order prescriptive injunctions. This
 5   Settlement also delivers relief to class members far sooner, without the delay and uncertainty
 6   inherent in trial and any appeal. Based on Plaintiffs’ damages expert’s valuation methods, the
 7   value of the relief obtained through this litigation and Settlement is over $5 billion.
 8          This case required years of “herculean” efforts (the word used by Google’s counsel),
 9   including 34 motions to compel, over 5.8 million pages of documents produced by Google, a
10   year-long technical special master process, two sanctions proceedings with both finding
11   discovery misconduct by Google, and many months of hard-fought mediation. Plaintiffs engaged
12   in hard-fought litigation for nearly 4 years, only settling on the eve of trial. This Settlement
13   ensures real accountability and transparency from the world’s largest data collector and marks
14   an important step toward improving and upholding our right to privacy on the Internet.2
15   II.    BACKGROUND
16          A.      Case History
17          Pre-filing investigation: This case did not copy any government proceeding, nor was it
18   born through any disclosure by Google. This case exists because Boies Schiller Flexner (“BSF”)
19   conducted an extensive many-months investigation (with expert assistance) prior to filing and
20   decided to challenge these Google practices. Declaration of Mark C. Mao (“Mao Decl.”) ¶ 3.
21   That thorough investigation yielded a 37-page complaint filed in June 2020, with detailed
22   allegations concerning Google’s collection of private browsing data. Dkt. 1. When the case was
23   filed, Google told reporters that it “disputes the claims and plans to defend itself vigorously
24   against them.” Ex. 2.
25          Google’s motions to dismiss: On August 20, 2020, Google moved to dismiss all claims.
26   Dkt. 53. On September 21, 2020, after Plaintiffs filed an amended complaint (Dkt. 68), Google
27
     2
      Google supports final approval of the settlement, but disagrees with the legal and factual
28   characterizations contained in the Motion.
                                                    3
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 1   again moved to dismiss all claims (Dkt. 82). Google’s filings included 514 pages of briefing and
 2   exhibits. Dkts. 82–84, 92, 93. On February 25, 2021, after Plaintiffs filed their opposition (Dkt.
 3   87) and Google filed its reply (Dkt. 92), the Court heard oral argument. Dkt. 103. On March 12,
 4   2021, the Court denied Google’s motion in its entirety. Dkt. 113. On April 14, 2021, Plaintiffs
 5   sought and obtained leave to file a Second Amended Complaint, adding breach of contract and
 6   UCL claims. Dkts. 136, 138. On May 17, 2021, Google filed a second and even more voluminous
 7   motion to dismiss, this time submitting over 1,000 pages of briefing and exhibits. Dkts. 164,
 8   208. On December 22, 2021, after Plaintiffs filed their opposition (Dkt. 192) and on June 29,
 9   2021, Google filed its reply (Dkt. 208), Judge Koh once again denied Google’s motion to dismiss
10   in its entirety. Dkt. 363. Plaintiffs prevailed with respect to all seven claims.
11          Fact discovery: On September 30, 2020, after Judge Koh denied Google’s motion to stay
12   discovery (Dkt. 60), Plaintiffs served Google with their first set of document requests. Mao Decl.
13   ¶ 4. During fact discovery from September 2020 through March 2022, Plaintiffs served Google
14   with 235 document requests, 40 interrogatories, and 75 requests for admission. Id. Google
15   opposed Plaintiffs’ efforts to obtain discovery, and Plaintiffs filed 34 motions to compel. Id.3 The
16   parties exchanged more than 150 letters, conducted dozens of meet and confers, and had 16
17   separate hearings before Judge van Keulen (totaling over 27 hours), where they submitted over
18   1,000 pages to her to address over 40 disputes. Id.4 Those disputes resulted in 64 orders from
19   Judge van Keulen. Id. Obtaining discovery regarding Google’s practices involved (in Google’s
20
     3
      For purposes of this count, each dispute chart that Judge van Keulen ordered the parties to file
21   counts as just one motion to compel, notwithstanding that these charts each covered multiple
     disputes. Each letter-brief filed under Judge van Keulen’s default rules also counts as one motion,
22   even though such briefs sometimes covered more than one dispute. See Dkts. 90, 119, 127, 129,
23   140, 155, 177, 199, 202, 218, 230, 258, 281, 296, 355, 357, 383, 390, 399, 411, 424, 485, 456,
     462, 517, 546, 561, 574, 635, 671.
24   4
       39 disputes were raised through the ongoing dispute charts that Judge van Keulen ordered the
     parties to submit. See Dkts. 129, 140, 155, 177, 230, 281, 424, 485. In addition to those dispute
25
     charts, but excluding sanctions-related filings, the parties filed over 40 additional submissions
26   with Judge van Keulen to raise disputes over issues including data productions, custodians,
     search terms, privilege, 30(b)(6) depositions topics, apex depositions, and preservation. Dkts. 90,
27   119, 127, 199, 202, 204, 212, 218, 231, 258, 296, 311, 312, 314, 355, 357, 383, 390, 399, 411,
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 1   counsel’s own words, and continuing with expert discovery) “two and a half years of scorched-
 2   earth discovery.” Ex. 3 (Hearing Tr. at 85:19–20).
 3          Plaintiffs compelled Google to produce over 900,000 documents from 43 custodians,
 4   totaling over 5.8 million pages. Mao Decl. ¶ 4. This included documents Google initially
 5   included on its privilege logs, which Plaintiffs forced Google to re-review and produce. Dkt. 605.
 6   Google relied on over 300 contract attorneys, with what its counsel described as “herculean”
 7   discovery efforts. See Sept. 30, 2021 Hearing Tr. at 51:3-9. Google withheld most of those
 8   documents until October 2021, just three months before the scheduled close of fact discovery.
 9   Mao Decl. ¶ 4. In addition to relying on attorneys at their firms, Plaintiffs hired 11 document
10   reviewers with engineering backgrounds to work through these technical documents and prepare
11   for depositions. Id. Plaintiffs also retained 23 consulting and testifying experts to assist with fact
12   discovery and prepare expert reports. Id.
13          Google’s productions were incomplete, but Plaintiffs’ efforts nonetheless yielded key
14   admissions by Google employees, including documents describing Incognito as “effectively a
15   lie” (Ex. 4), a “problem of professional ethics and basic honesty” (Ex. 5), and a “confusing mess”
16   (Ex. 6). Some key admissions came from Google employees that Google initially refused to
17   include as document custodians. Mao Decl. ¶ 5. These and other admissions were a focus
18   throughout the litigation, and correcting disclosures that even Google admitted were misleading
19   became a cornerstone of this Settlement. Id.
20          In 2021 and 2022, Plaintiffs obtained more than 117 hours of deposition testimony from
21   27 current and former Google employees, including 8 individuals designated as 30(b)(6)
22   deponents. Id. ¶ 6. Those depositions included individuals involved with the core Google
23   products and services at issue, including Chrome, Analytics, and Ads. Id. Google sought to
24   prevent some of these depositions, and insisted that some depositions take place in Europe. Id.
25   When those depositions did take place, the testimony of Google employees was found by Judge
26   van Keulen to be “misleading.” Dkt. 588 ¶ 82.
27          During this time, Plaintiffs also responded to discovery from Google, each responding to
28   17 interrogatories, 34 requests for production, and 55 requests for admission. Mao Decl. ¶ 4. The
                                                      5
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 1   class representatives each sat for deposition, with Google spending over 28 hours questioning
 2   them about their personal browsing private activities and other topics. Id. ¶ 6.
 3           Special Master process: In July 2021, the parties began a year-long process with
 4   technical Special Master Douglas Brush. Mao Decl. ¶ 7. In April 2021, Judge van Keulen ordered
 5   Google to “produce all of the named Plaintiffs’ data.” Dkt. 147-1. That order was meant to allow
 6   Plaintiffs to “test” Google’s say-so about how it stores the data. Apr. 29, 2021 Hearing Tr. at
 7   20:7–8. On July 12, 2021, Judge van Keulen appointed Special Master Brush to adjudicate
 8   Google’s compliance with the order and other disputes. Dkt. 219. That process lasted a year, and
 9   it involved 21 hearings and conferences with the Special Master, dozens of written submissions
10   and correspondence, and ongoing coordination among counsel for both sides, Plaintiffs’
11   consulting experts, and Google engineers. Mao Decl. ¶ 7.
12           Through the Special Master process, Plaintiffs obtained 76GB of data across 13,483 data
13   files, which Plaintiffs’ technical expert used for his analysis. Id. This Court relied on that analysis
14   in the summary judgment order. Dkt. 969 at 11 (citing technical expert’s analysis and ruling
15   “plaintiffs set forth evidence that Google does store their data with unique identifiers”). The data
16   sources uncovered through the process and identified in the Special Master’s preservation order
17   (Dkts. 524, 587-1) also established the framework for the data deletion and remediation
18   obligations that Google must now undertake—another cornerstone of this Settlement. See
19   Settlement Ex. B (listing logs); Declaration of Chris Thompson (“Thompson Decl.”) ¶¶ 6–7, 14.
20           Sanctions: On October 14, 2021, Plaintiffs filed their first of two motions for sanctions
21   involving Google’s concealment of its private browsing “detection bits,” fields that Google used
22   within its logs to label browsing data as “Incognito” or “private” data. Dkts. 292, 656. Google
23   not only resisted disclosure of key evidence but also engaged in discovery misconduct. The
24   efforts to obtain this evidence and hold Google accountable was a trial unto itself.
25           On April 22, 2022, Judge van Keulen conducted an all-day evidentiary hearing that
26   involved live testimony from five witnesses. Mao Decl. ¶ 7. In the lead-up to that hearing, the
27   parties filed over 680 pages with the Court. Dkts. 292, 429, 494, 528, 535. On May 20, 2022,
28   Judge van Keulen issued her first sanctions order, which included 48 pages of findings of fact
                                                   6
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 1   and conclusions of law along with a 7-page order, sanctioning Google for concealing three of the
 2   detection bits and their corresponding logs, in violation of “all three” of the court’s April,
 3   September, and November 2021 orders, and other misconduct. Dkt. 588 ¶ 7, p. 35. The Court
 4   sanctioned Google by awarding Plaintiffs nearly $1 million in fees, precluding Google from
 5   presenting certain arguments and witnesses at trial, and proposing adverse jury instructions. Id.
 6   at 6–7.
 7             On August 4, 2022, Plaintiffs filed their second motion for sanctions. Dkt. 656. That
 8   request for additional sanctions involved over 640 pages of briefing. Dkts. 655, 696, 708, 735,
 9   798, 834, 858. On March 2, 2023, Judge van Keulen conducted another evidentiary hearing. Dkt.
10   883. On March 20, 2023, Judge van Keulen again sanctioned Google, finding that “Google’s
11   untimely disclosure” of certain “new logs shows that the discovery violations addressed in the
12   May 2022 Sanctions Order were far more extensive and thus more prejudicial, than was then
13   known.” Dkt. 898 at 9. Judge van Keulen imposed “additional sanctions,” including additional
14   preclusion orders, a revised recommendation for an adverse-inference jury instruction, and
15   additional monetary sanctions. Id. Importantly, the Settlement negotiated by Plaintiffs requires
16   Google to delete each of the detection bits uncovered through the sanctions proceedings.
17             Expert discovery: On April 15, 2022, Plaintiffs served five opening expert reports
18   totaling 1,243 pages. Mao Decl. ¶ 8. Expert discovery in the end involved 11 testifying experts
19   (6 for Plaintiffs and 5 for Google), all of whom provided at least one expert report and sat for
20   deposition. Id. The parties exchanged 18 expert reports, totaling over 3,000 pages (excluding
21   voluminous spreadsheets of data analysis), with 14 days of expert depositions. Id. This expert
22   work involved analyzing Google’s enormous document and data productions, including with the
23   assistance of consulting experts. Id. Unlike Plaintiffs, Google’s counsel could rely on Google
24   engineers for assistance. Class Counsel invested significant time and resources into expert
25   discovery, in total paying close to $5 million to testifying and consulting experts. Id.
26             Certification: On June 20, 2022, Plaintiffs filed their motion for class certification. Dkt.
27   609. On August 5, 2022, Google opposed class certification in its entirety, contending that no
28   class should be certified to seek any form of relief, and also filed Daubert motions. Dkts. 662–
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 1   68. In total, the parties filed over 4,100 pages in connection with these motions. Dkts. 609, 662–
 2   68, 713. On October 11, 2022, the Court conducted an extensive hearing. Dkt. 772. On December
 3   12, 2022, the Court ordered nationwide Rule 23(b)(2) certification on all seven claims. Dkt.
 4   803. Although no damages class was certified, the Court’s ruling allowed Plaintiffs to seek (and
 5   now secure by Settlement) injunctive relief for the classes.
 6          The Court’s order noted that injunctive relief would bring “important changes to reflect
 7   transparency in the system.” Dkt. 803 at 34. That same order denied Google’s Daubert motion
 8   regarding Mr. Lasinski, whose report included relevant calculations regarding the number of
 9   class members, the amount of Google’s enrichment from the challenged conduct, and ways in
10   which actual damages could be calculated based on payments made by Google for user data
11   (including for the named plaintiffs’ damages). Dkt. 803 at 4–13. Mr. Lasinski’s testimony
12   supported key elements of Plaintiffs’ claims. Dkt. 1029 at 15 (supporting model for statutory
13   damages), 17, 61 (supporting actual damages through market analysis), 55 (supporting “damage
14   or loss” under CDAFA), at 61 (supporting unjust enrichment theory).
15          Summary judgment: On March 21, 2023, Google moved for summary judgment on all
16   of Plaintiffs’ claims. Dkt. 908. In total, Google filed over 4,500 pages of briefing and exhibits.
17   Mao Decl. ¶ 9. On April 12, 2023, Plaintiffs filed their opposition along with a detailed separate
18   statement of facts and 105 exhibits. Dkts. 923–26. On May 12, 2023, the Court held a lengthy
19   hearing. Dkt. 955. On August 7, 2023, the Court denied Google’s summary judgment motion in
20   its entirety. Dkt. 969. In its ruling, this Court expressed concern over Google’s arguments and
21   conduct, explaining that “the assertion that federal courts are powerless to provide a remedy when
22   an internet company surreptitiously collects private data is untenable.” Id. at 8 (quoting In re
23   Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 599 (9th Cir. 2020)).
24          Mediation: In September 2023, shortly after the Court’s summary judgment ruling, the
25   parties began a mediation process that lasted several months. Mao Decl. ¶ 10. The parties’ prior
26   discussions resulted in an agreement that any mediation should wait until after summary
27   judgment. Ex. 1 at 2 (“discussions were premature”). The parties selected retired United States
28   District Judge Layn R. Phillips as the mediator. Mao Decl. ¶ 10. After extensively briefing their
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 1   positions, the parties participated in an all-day, in-person mediation in New York on September
 2   29, 2023. Id. The parties then continued to mediate for many months under Judge Phillips’
 3   supervision. Id.
 4             Trial preparation: In the leadup to the all-day pretrial conference on November 29, 2023,
 5   the parties prepared and filed, among other things, the Pretrial Conference Statement (Dkt. 1029),
 6   briefing on nine motions in limine (Dkts. 1020–25, 1027, 1030–31), a trial witness list (Dkt.
 7   1049), discovery excerpts for trial (Dkt. 1050), a trial exhibit list (Dkt. 1062), and almost 300
 8   pages of disputed jury instructions (Dkt. 1057). The Court then issued several important rulings.
 9   For example, the Court precluded Google from referencing the use of Google services by Class
10   Counsel (Dkt. 1078 at 3), denied Google’s motion to exclude evidence and argument regarding
11   Google’s joining of data (id. at 6), “largely denied” Google’s motion to exclude evidence and
12   argument related to classwide damages (Dkt. 1088 at 4), denied Google’s motion to exclude over
13   100 exhibits as purportedly irrelevant (id. at 5), and adopted Judge van Keulen’s proposed
14   adverse jury instruction against Google (id. at 3). Class Counsel began preparing witness
15   examination outlines and other necessary trial prep work, and the parties began working with
16   retired Magistrate Judge Elizabeth Laporte to resolve objections to trial exhibits. Mao Decl. ¶ 11.
17   This Court also ordered Google to produce documents from the files of former Google employee
18   Blake Lemoine, noting that he was “a potential whistleblower who . . . in many ways, guts much
19   of what [Google] say[s] if he’s credible.” Nov. 29, 2023 Tr. at 83. Mr. Lemoine’s deposition took
20   place on December 21, 2023. Mao Decl. ¶ 11.
21             Ultimately, the Court’s rulings and Plaintiffs’ efforts to obtain them paved the way for
22   Google to agree to settlement terms that are both sweeping and unprecedented rather than face
23   trial.
24             B.     The Settlement
25             On December 22, 2023, on the eve of trial, Plaintiffs and Google finalized a Term Sheet,
26   which has now been implemented with the Settlement. Plaintiffs below summarize the key parts
27   of the Settlement, with estimates for the value of the relief obtained.
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 1          Settlement scope: The Settlement includes and provides benefits for the same individuals
 2   included within the scope of the Court’s certification order. See Dkt. 803 & Ex. 1 § I.2.
 3          Relief obtained for the benefit of class members:
 4          (1) Changes to Google’s disclosures: Google must rewrite its disclosures to tell users
 5   that it collects private browsing data. Google has agreed to begin making these changes
 6   immediately and complete them by March 31, 2024. Ex. 1 § III.1. Trial would have delayed these
 7   changes, and an appeal could have caused further delay. Now, class members benefit right away.
 8          Securing disclosure changes by Google is no easy feat. Google employees for years
 9   wanted to fix these disclosures, but they were repeatedly shut down by Google management. In
10   2013, employees stressed the need to “simplify” the Incognito Splash Screen, lamenting the
11   “incorrect conclusions” that users drew from it. Ex. 7. In 2019. Employees also proposed to
12   redesign the Splash Screen to clarify that Incognito does not provide privacy from “Google.” Ex.
13   8. Google’s executives at the highest levels were aware of these concerns, but nothing changed.
14   Rather than expressly disclose Incognito’s limitations, Google continued using “really fuzzy,
15   hedging language that is almost more damaging.” Ex. 9 at -67 (email from CMO Lorraine
16   Twohill to CEO Sundar Pichai).
17          Plaintiffs insisted that Google expressly disclose its collection of private browsing data,
18   including on the Incognito Splash Screen and in its Privacy Policy. At summary judgment, this
19   Court acknowledged Google’s “failure to explicitly notify users it would be among the third
20   parties recording their communications with other websites.” Dkt. 969 at 31. This Settlement
21   squarely addresses that failure. On the Incognito Splash Screen, Google now prominently
22   discloses that Incognito Mode “won’t change how data is collected by websites you visit and the
23   services they use, including Google.” Ex. 1 at 7 (emphasis added). Users receive this disclosure
24   every time they launch Incognito Mode. In addition, the Google Privacy Policy must disclose
25   that “activity on third-party sites and apps that use our [Google] services” “is collected regardless
26   of which browsing or browser mode you use,” and that when you use “Incognito,” “third party
27   sites and apps that integrate our services may still share information with Google.” Id. (Exhibit
28   A) at 20 (emphasis added). Google must also delete the Chrome Privacy Notice and Chrome
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 1   White Paper (Ex. 1 § III.1.d–e), two other misleading Google documents at issue in this lawsuit.
 2   The Settlement also ensures that Google cannot roll back any of these important changes.
 3           (2) Google data deletion and remediation: The Settlement also provides relief for
 4   Google’s past collection of private browsing data through data deletion and remediation. This
 5   portion of the Settlement relies on the framework developed by Special Master Douglas
 6   Brush. Thompson Decl. ¶¶ 6–7. For every data source identified in the Special Master’s
 7   preservation order (Dkts. 524, 587-1) that could include private browsing data pre-dating the
 8   disclosure changes, Google must delete or remediate all entries that might contain users’ at-issue
 9   private browsing data. See Settlement Ex. B (listing logs); Thompson Decl. ¶¶ 7–13.
10           The timing for this data deletion and remediation process dovetails with the disclosure
11   changes. The data deletion and remediation obligations apply to “data older than nine months,”
12   and these obligations take effect upon approval of the settlement or within 275 days of Google
13   making the required disclosure changes, whichever is later. Ex. 1 § III.2.a. Google will be
14   required to remediate and delete data collected in December 2023 and earlier (prior to when the
15   parties signed the Term Sheet). Any post-December data is subject to the new and revised
16   disclosures, which Google began rolling out immediately after the Term Sheet was signed. The
17   Settlement therefore appropriately accounts for both past and future data collection.
18           The deletion and remediation obligations apply not just to data tagged as “private”
19   browsing using the Google detection bits but more broadly for all users (including all class
20   members) across several databases, securing comprehensive relief.5 The Settlement provides
21   broad relief regardless of any challenges presented by Google’s limited record keeping. Much of
22   the private browsing data in these logs will be deleted in their entirety, including billions of event-
23   level data records that reflect class members’ private browsing activities. Ex. 1 § III.2.a–b.
24

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     5
26     Google claimed in the litigation that it was impossible to identify (and therefore delete) private
     browsing data because of how it stored data, and emphasized how Incognito browsing traffic
27   fluctuated around just three percent of the data collected and stored by Google. With this
     Settlement, Plaintiffs successfully obtained Google’s agreement to remediate 100% of the data
28   set at issue. Mao Decl. ¶ 12; Thompson Decl. ¶¶ 7–15.
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 1          For the data-remediation process, Google must delete information that makes private
 2   browsing data identifying. Google will mitigate this data by partially redacting IP addresses and
 3   generalizing user agent strings, which addresses one of Plaintiffs’ re-identification theories
 4   supported by their technical expert. Ex. 1 § III.2.a. This change addresses Plaintiffs’ allegations
 5   (and Google engineers’ acknowledgement) that private browsing data is identifying due to the
 6   combination of IP address and user agent information. E.g., Ex. 10 at -85 (“IP address + UA (user
 7   agent) can reveal individual user with high probability”). Google will also be required to delete
 8   the detailed URLs, which will prevent Google from knowing the specific pages on a website a
 9   user visited when in private browsing mode. Mao Decl. ¶ 12. This Court relied on these detailed
10   URLs in rejecting Google’s summary judgment argument on “contents.” See Dkt. 969 at 26
11   (“‘The URLs, by virtue of including the particular document within a website that a person views,
12   reveal much more information . . . divulg[ing] a user’s personal interests, queries, and habits.’ So
13   too here.” (quoting In re Facebook, Inc. Internet Tracking Litig., 956 F.3d at 605)). Google’s
14   agreement to remove detailed URLs from the at-issue logs and keep only the domain-level
15   portion of the URL (i.e., only the name of the website) will vastly improve user privacy by
16   preventing Google (or anyone who gets their hands on the data) from knowing precisely what
17   users were browsing.
18          Google must also delete the X-Client Data Header field from these logs (Ex. 1 § III.2.a),
19   which is the field Google used to build its Incognito detection bits. This deletion prevents Google
20   from creating similar bits in the future to detect Incognito traffic. See Dkt. 588 (May 2022
21   sanctions order) p. 4 ¶¶ 17–19 (“Google created these [] Incognito-detection bits to look
22   specifically at whether there is an X-Client Data header in the request”).
23          Mr. Lasinski’s expert report provides a useful reference point for the enormity of the
24   private browsing records that Google had been storing, and which will now be subject to deletion
25   and remediation. See Dkt. 608-9 ¶¶ 188–90. These hundreds of billions of private browsing data
26   records and more are subject to the broad deletion and remediation secured through the
27   Settlement.
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 1           (3) Limits on Google’s collection going forward: Even though the Settlement already
 2   accounts for future data collection through disclosure changes, the Settlement also places further
 3   limits on Google’s ability to collect data in the future. It does so by leveraging a change that
 4   Google rolled out in response to this lawsuit related to its use of third-party cookies. Google
 5   historically collected third-party cookies (i.e., Google’s own “third-party” cookies deposited on
 6   users’ browsers when they visited a non-Google websites) along with other private browsing
 7   data. Before this lawsuit, Google evaluated a potential change to Chrome Incognito mode that
 8   would block third-party cookies by default. Just after Plaintiffs filed this lawsuit, Google
 9   implemented this change for all Incognito users. As reflected in the Settlement, Google admits
10   this lawsuit was the “substantial catalyst” for Google rolling this change out to all Incognito
11   users. Ex. 1 § III.4.
12           Under the Settlement, Google must maintain this new default of blocking third-party
13   cookies within Incognito mode for five years. Ex. 1 § III.5. This gives class members an option,
14   presented on the Splash Screen, to block third-party cookies when using Incognito. The result is
15   that Google will collect less data from users’ private browsing sessions, and that Google will
16   make less money from the data. The value of user data that will be protected is illustrated by the
17   fact that blocking data tagged with Google’s own “third-party cookies” in Incognito already
18   results in Google losing nearly $500 million a year in global annual revenue. Dkt. 608-9 ¶ 35.
19           (4) Removal of private browsing detection bits: Google must delete all four of the
20   identified private browsing detection bits (listed in Exhibit D to the Settlement). Ex. 1 § III.2.e.
21   These were the detection bits that Google was sanctioned for concealing during discovery
22   (twice). Unbeknownst to users, and without disclosure by Google, Google used these bits to track
23   a user’s decision to browse privately, and then label the data collected as private.
24           The Settlement puts a stop to this practice once and for all. Google will no longer infer
25   private browsing using these detection bits. Google has further represented that there are no other
26   detection bits for inferring Chrome’s Incognito mode and has further agreed to no longer use any
27   of the detections bits to identify or track any private browsing. Ex. 1 § III.2.e, Exhibit D.
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 1          (5) No class member damages release: The Settlement only releases class members’
 2   claims “for injunctive, declaratory, or any other equitable non-monetary relief.” Ex. 1 §§ I.12,
 3   II.1. It excludes for all class members “claims for damages that they may pursue on an individual
 4   basis.” Id. § I.12. The amount of damages to be awarded to the class representatives will be
 5   decided through arbitration. Id. §§ 8–9. Consistent with the absence of any release of damages
 6   claims, class members other than the class representatives have filed and will be filing actions in
 7   California state court seeking such damages. E.g., Ex. 11 (complaint filed by 50 plaintiffs in their
 8   individual capacities seeking monetary relief for the claims at issue in this litigation).
 9          Comprehensiveness of the injunctive relief: In the Pretrial Statement, Google argued that
10   any injunctive relief “must be limited to further clarifying Google’s relevant disclosures.” Dkt.
11   1029 at 23. Plaintiffs demanded, and have obtained, even more expansive relief. Plaintiffs
12   secured the most important facets of injunctive relief they would have sought at trial—including
13   key disclosure changes, data deletion and remediation for all logs identified during the Special
14   Master process, removal of the detection bits, and hard limits to third-party cookie tracking—
15   while eliminating the risk of trial and inevitable delay that would follow from any appeals. While
16   Plaintiffs are confident the Court would have rejected Google’s argument to limit injunctive relief
17   to disclosure changes, there was no guarantee it would have granted the extensive relief secured
18   by the Settlement.
19          Value of this injunctive relief: The Procedural Guidance for Class Action Settlements
20   requires parties to provide “details about and the value of injunctive relief” from the Settlement.
21   Here, the benefits conveyed to class members both from changes made by Google during the
22   litigation and as required under this Settlement are worth more than $5 billion.6
23          One way to quantify this value is to apply Mr. Lasinski’s analysis to Google’s data
24   deletion and remediation. When this litigation began, Google was storing private browsing data
25   in permanent logs. As this Court previously recognized, Plaintiffs presented “evidence that there
26
     6
       While Google “disagrees with the legal and factual characterizations contained in the
27   Motion,” see supra at n. 2, Google did not mention, let alone expressly object to, the value of
     the relief that the Settlement will provide to class members. See Declaration of Mark C. Mao ¶
28   26; Ex. 12.
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 1   is a market for their browsing history” and that “Google itself has piloted a program where it
 2   pays users” for their browsing history. Dkt. 969 at 33. Mr. Lasinski quantified the number of
 3   class members (approximately 136 million) and the value of the data Google obtained from their
 4   private browsing activities. Dkt. 608-9 ¶¶ 137–50, 165–84, 195. To assign a value to the data, he
 5   relied on the Ipsos Screenwise Panel through which Google paid users at least $3 per month per
 6   device for their browsing data that Google did not otherwise have access to without consent. Id.
 7   ¶¶ 137–150, 165–184. By requiring Google to delete or remediate the data it impermissibly
 8   collected, the Settlement is returning that value to class members. Assuming conservatively that
 9   each class member used just one device only twice per year (not per month) from June 2016
10   through December 2023, Google’s data deletion and remediation yields a total value of $6.1
11   billion (136 million class members * 2 * $3 * 7.5 years = $6.12 billion). Assuming even more
12   conservatively that they used just one device only once per year, that yields $3.06 billion. These
13   are both conservative valuations of the benefits Plaintiffs have obtained.
14          The value of the limits imposed on Google’s collection of private browsing data (via
15   third-party cookie blocking) can also be measured. Mr. Lasinski’s unjust enrichment damages
16   models, which were based on Google’s own internal projections, quantified the value of this
17   privacy-enhancing change. Dkt. 608-9 ¶¶ 52–136. Google rolled out this change to all Incognito
18   users in 2020, with this litigation as the substantial catalyst.7 Mr. Lasinski’s analysis reveals that
19   blocking third-party cookies by default over the period June 2020 through December 2023 yields
20   a value of about $697.4 million. Going forward, Google’s agreement to maintain this change for
21   five years yields an additional $993.5 million in additional value ($198.7 million * 5 years =
22   $993.5 million), for a combined total value of about $1.69 billion.
23
     7
       This calculation is based on discounting Google’s claimed $249.9 million in revenue losses
24   from ChromeGuard to reflect the percentage of Alphabet’s worldwide revenue from U.S. users
     (46.6%), the share of Incognito users with a registered Google Account (91.6%), and the share
25
     of signed-out private browsing (95%), which yields about $101.3 million in value ($249.9 million
26   X 46.6% U.S. X 91.6% account use X 95% signed out = $101.3 million). Lasinski Report,
     Schedules 12.4, 2.1, 5.1, and 8.1. For 2021, similar apportionments yield an additional $198.7
27   million in value ($499.7 million X 45.7% U.S. X 91.6% account use X 95% signed out = $198.7
     million). Id. Schedules 12.4, 2.1, 5.1, and 8.1. Holding the 2021 result constant for two additional
28   years yields another $397.4 million in value ($198.7 X 2 years = $397.4 million).
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 1          Without including any of the other injunctive relief detailed in the Settlement, these two
 2   changes alone conservatively total between $4.75 billion and $7.8 billion.
 3          Comparable settlements: A comparison to other cases illustrates the value of the
 4   injunctive relief provided by this Settlement. For example, In re Capital One Consumer Data
 5   Breach Litig., 2022 WL 17176495, at *1 (E.D. Va. Nov. 17, 2022), was a data breach case with
 6   injunctive-relief components that improved data security and provided three years of identify-
 7   theft protection. Case No. 19-md-02915-AJT-JFA, Dkt. 2251, at 3 (E.D. Va.). Similarly, Adkins
 8   v. Facebook, another data breach case, was certified for settlement under Rule 23(b)(2) based on
 9   Facebook’s confirmation that security measures it implemented after litigation had commenced
10   would remain in place. Case No. 3:18-cv-05982, Dkt. 323 at 1 (N.D. Cal.). The relief here goes
11   much further by requiring fundamental changes to Google’s data-collection practices, including
12   with respect to how Google stores data (the remediation requirements) and Google’s ability to
13   track users’ decisions to browse privately (the deletion of Google’s private-browsing detection
14   bits). These requirements apply not only to data Google has already collected but to data that
15   Google collects in the future, providing for enhanced transparency and privacy for all people.
16          No impact on any other pending cases: While the Texas Attorney General subsequently
17   filed a case against Google concerning private browsing, this Settlement is limited to the
18   injunctive relief claims of individuals who used the specified browsing modes.
19          CAFA notice: Google confirmed that it will be providing CAFA notice.
20          No agreement on the amount of fees, costs, or service awards: These amounts are left
21   solely to this Court’s discretion. Google may contest the reasonableness of the amounts that
22   Plaintiffs request, but Google has agreed to pay any amount awarded, and the parties waived
23   any right to appeal this Court’s decision. Class Counsel will separately petition the Court for
24   fees, costs, and service awards, which will be paid by Google without in any way depleting or
25   modifying the relief secured through this Settlement.
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 1   III.    LEGAL STANDARD
 2           In addressing whether to approve a class action settlement, this Court applies the
 3   overlapping Hanlon factors and criteria in Rule 23(e)(2).8 According to Hanlon, courts balance
 4   the following factors to determine whether a class action settlement is fair, adequate, and
 5   reasonable: (1) the strength of the plaintiffs’ case, (2) the risk, expense, complexity, and likely
 6   duration of further litigation, (3) the risk of maintaining class action status throughout the trial,
 7   (4) the amount offered in settlement, (5) the extent of discovery completed and the stage of the
 8   proceedings, (6) the experience and views of counsel, (7) the presence of a governmental Case
 9   participant, and (8) the reaction of the class members to the proposed settlement. Emetoh v.
10   FedEx Freight, Inc., 2020 WL 6216763, at *3 (N.D. Cal. Oct. 22, 2020) (Gonzalez Rogers, J.)
11   (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)). Rule 23(e)(2) provides
12   that a settlement may only be approved upon a finding that: “(A) the class representatives and
13   class counsel have adequately represented the class; (B) the proposal was negotiated at arm’s
14   length; (C) the relief provided for the class is adequate . . . and (D) the proposal treats class
15   members equitably relative to each other.” Fed. R. Civ. P. 23(e)(2).
16   IV.     ARGUMENT
17           A.     Final approval is appropriate without preliminary approval or notice.
18           Consistent with prior rulings by the Court, the parties agreed that the appropriate next
19   step following the Settlement was for Plaintiffs to file this final approval motion. Ex. 1 § II.5.
20   This Settlement involves classes certified under Rule 23(b)(2) with no release of any class
21   members’ claims for monetary relief. Whether to provide notice is left to the Court’s discretion.
22   Fed. R. Civ. P. 23(c)(2). In seeking final approval, the parties were guided by this Court’s
23

24   8
       See Burnell v. Swift Transp. Co. of Arizona, LLC, 2022 WL 1479506, at *8 n.5 (C.D. Cal. Apr.
     28, 2022), appeal dismissed sub nom. Saucillo v. Peck, 2022 WL 16754141 (9th Cir. Oct. 4,
25
     2022), and aff’d sub nom. Saucillo v. Mares, 2023 WL 3407092 (9th Cir. May 12, 2023) (“Fed.
26   R. Civ. P. 23 was amended in 2018 to list four factors a district court should consider when
     evaluating a class action settlement. Fed. R. Civ. P. 23(e)(2). The Ninth Circuit in this case
27   declined to decide ‘how district courts should incorporate the [new] Rule 23(e)(2) factors into
     their analyses.’ However, the Rule 23(e)(2) factors are similar to and substantially overlap with
28   the Hanlon factors identified above.”) (brackets in original).
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 1   decision in Stathakos v. Columbia Sportswear Co., 2018 WL 582564 (N.D. Cal. Jan. 25, 2018)
 2   (Gonzalez Rogers, J.). In that case, the Court ruled that preliminary approval and notice were not
 3   required because Rule 23(b)(2) settlements are purely injunctive and do not impact class
 4   members’ monetary claims. Id. at *3. The Court proceeded directly to final approval, without
 5   requiring any preliminary approval or notice. Id. (“In injunctive relief only class actions certified
 6   under Rule 23(b)(2), federal courts across the country have uniformly held that notice is not
 7   required.”) (citing, inter alia, Lilly v. Jamba Juice Co., 2015 WL 1248027, at *8–9 (N.D. Cal.
 8   Mar. 18, 2015) (holding that class notice was unnecessary)). As a practical matter, Plaintiffs are
 9   also proceeding straight to final approval to expedite this relief for the benefit of class members
10   and avoid any further delay for the injunctive relief Google has agreed to implement.
11           B.      Final approval is warranted based on the Hanlon factors.
12                   1.      The strength of Plaintiffs’ case.
13           Under the first Hanlon factor, courts assess “objectively the strengths and weaknesses
14   inherent in the litigation and the impact of those considerations on the parties’ decisions to reach
15   [a settlement].” Edwards v. Nat’l Milk Producers Fed’n, 2017 WL 3623734, at *6 (N.D. Cal.
16   June 26, 2017), aff’d sub nom. Edwards v. Andrews, 846 F. App’x 538 (9th Cir. 2021). Here, the
17   Settlement reflects the strength in Plaintiffs’ position. Plaintiffs obtained these broad and
18   valuable changes by Google only after defeating two motions to dismiss, certifying the injunctive
19   classes, and defeating a motion for summary judgment, with Plaintiffs ready to proceed to trial.
20   Although Plaintiffs remain confident that they would have succeeded had this case proceeded to
21   trial, Plaintiffs asserted these claims in an ever-evolving privacy landscape. See, e.g., Hashemi v.
22   Bosley, Inc., 2022 WL 2155117, at *7 (C.D. Cal. Feb. 22, 2022) (privacy class actions “are a
23   relatively new type of litigation”). There was no guarantee that any results achieved at trial would
24   survive subsequent motions practice and appellate review, or that Plaintiffs would be able to
25   secure and defend on appeal injunctive relief and affirmative changes to Google’s conduct at
26   issue in this litigation. The Settlement thus satisfies the first Hanlon factor.
27

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 1                   2.      Risk, expense, complexity, and duration of further litigation.
 2           “In assessing the risk, expense, complexity, and likely duration of further litigation [under
 3   the second Hanlon factor], the court evaluates the time and cost required.” Adoma v. Univ. of
 4   Phoenix, Inc., 913 F. Supp. 2d 964, 976 (E.D. Cal. 2012). Although Plaintiffs were prepared for
 5   trial and confident that the jury would find in their favor, even a successful trial result has an
 6   inherent risk of limited remedies that are not as sweeping as the remedies Plaintiffs achieved
 7   through this Settlement. The duration of post-trial proceedings is an additional factor weighing
 8   in favor of approval. The additional costs of experts, attorney resources, and generally
 9   maintaining the lawsuit, balanced against the relief obtained, also weighs heavily in favor of
10   approval. See, e.g., In re Charles Schwab Corp. Sec. Litig., 2011 WL 1481424, at *5 (N.D. Cal.
11   Apr. 19, 2011) (granting motion for final approval of class action settlement reached “on the eve
12   of trial” in part where “prosecuting these claims through trial and subsequent appeals would have
13   involved significant risk, expense, and delay”).
14                   3.      The risk of maintaining class action status.
15           As to the third Hanlon factor, while Plaintiffs were confident that they could maintain
16   class certification through trial, the possibility of decertification is always present. Google would
17   have had the ability to challenge the Court’s certification order on appeal. This potential
18   vulnerability also militates in favor of settlement under Hanlon’s third factor. E.g., Ruiz v. XPO
19   Last Mile, Inc., 2017 WL 6513962, at *5–6 (S.D. Cal. Dec. 20, 2017) (granting motion for final
20   approval of class action settlement, noting, defendant could “appeal the propriety of the Court’s
21   class certification order”).
22                   4.      The relief obtained through settlement.
23           As detailed above, the Settlement provides the class with substantial value in the form of
24   injunctive relief that protects all class members’ privacy rights and provides lasting benefits. As
25   in Columbia Sportswear, the “injunctive relief settlement stops the allegedly unlawful practices,
26   bars Defendant from similar practices in the future, and does not prevent class members from
27   seeking [monetary] legal recourse.” 2018 WL 582564, at *4 (citation and quotation marks
28
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 1   omitted) (brackets in original). This makes the Settlement especially valuable to all class
 2   members, providing important accountability and transparency.9
 3          The Ninth Circuit has noted that “assigning a precise dollar amount to the class benefit
 4   may prove difficult where” the “relief obtained for the class is ‘primarily injunctive in nature and
 5   thus not easily monetized.’” Lowery v. Rhapsody Int’l, Inc., 75 F.4th 985, 992 n.1 (9th Cir. 2023)
 6   (citing In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 941 (9th Cir. 2011)). It has also
 7   emphasized that “[w]hat matters most is the result for the class members” (id. at 988) and that
 8   “lawsuits can provide considerable benefit to society through nonmonetary relief” (id. at 994–
 9   95). Unlike in Rhapsody, where the court found that the benefit provided was “minimal” and
10   only benefited a small portion of potential class members, this Settlement provides valuable
11   injunctive relief for every class member. See id.
12          All class members will benefit from this injunctive relief without releasing any claims for
13   monetary damages. Ex. 1 § I.14. Class members remain free to bring individual damages claims.
14   See Nat’l Fed’n of Blind of Cal. v. Uber Techs., Inc., 2016 WL 9000699, at *3, *9 (N.D. Cal.
15   July 13, 2016) (granting preliminary approval of a settlement in which “the class will not waive
16   their right to pursue damages claims”).
17                  5.      The extent of discovery and stage of the proceedings.
18          The fifth Hanlon factor clearly supports final approval. There were over 5.8 million pages
19   of documents produced by Google (plus many gigabytes of data), 49 depositions, 11 disclosed
20   experts, over two dozen hearings (including 2 evidentiary hearings which led to discovery
21   sanctions), 21 Special Master proceedings, over 1,000 docket entries, and extensive mediation
22   efforts before the parties finalized this Settlement. This Settlement was reached after all pretrial
23   filings and the Court’s rulings on most of same. The extensive discovery and lengthy proceedings
24
     9
      Courts routinely approve settlements for injunctive relief alone. See, e.g., Romero v. Securus
25
     Techs., Inc., 2020 WL 6799401 (S.D. Cal. Nov. 19, 2020); Ang v. Bimbo Bakeries USA, Inc.,
26   2020 WL 5798152, (N.D. Cal. Sept. 29, 2020) (same); Lilly v. Jamba Juice Co., 2015 WL
     2062858 (N.D. Cal. May 4, 2015) (same); Kim v. Space Pencil, Inc., 2012 WL 5948951 (N.D.
27   Cal. Nov. 28, 2012) (same); Goldkorn v. Cty. of San Bernardino, 2012 WL 476279 (C.D. Cal.
     Feb. 13, 2012) (same); In re Lifelock, Inc. Mktg. & Sales Practices Litig., 2010 WL 3715138 (D.
28   Ariz. Aug. 31, 2010) (same).
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 1   fully support approval. Kumar v. Salov N. Am. Corp., 2017 WL 2902898, at *7 (N.D. Cal. July
 2   7, 2017) (Gonzalez Rogers, J.), aff’d, 737 F. App’x 341 (9th Cir. 2018) (granting motion for final
 3   approval of class action settlement that “occurred only after extensive litigation” and discovery).
 4                  6.      The experience and views of counsel.
 5          The sixth Hanlon factor asks the Court to address the recommendation of counsel and the
 6   level of experience backing that recommendation. Grannan v. Alliant L. Grp., P.C., 2012 WL
 7   216522, at *7 (N.D. Cal. Jan. 24, 2012). “The recommendations of plaintiffs’ counsel should be
 8   given a presumption of reasonableness.” In re Am. Apparel, Inc. v. S’holder. Litig., 2014 WL
 9   10212865, at *14 (C.D. Cal. July 28, 2014); In re Omnivision Techns., Inc., 559 F. Supp. 2d
10   1036, 1043 (N.D. Cal. 2008); Hanlon, 150 F.3d at 1027. In moving for class certification, Class
11   Counsel outlined their extensive experience in complex litigation, including privacy litigation.
12   Dkts. 609, 609-8, 609-9, 609-10. The Court considered that record and found that Class
13   Counsel’s extensive experience satisfied the Rule 23(a) adequacy requirement. Dkt. 803 at 27.
14   David Boies, Bill Carmody, and John Yanchunis—the three lead Plaintiffs’ Counsel—draw on
15   over a century of combined litigation experience and attest that the Settlement is an excellent
16   result for the certified classes which provides valuable injunctive relief to each class member.
17   Consolidated Decl. ¶¶ 25–34. Class Counsel drew on that experience to negotiate and secure this
18   Settlement, and they now respectfully recommend final approval.
19                  7.      The presence of a governmental case participant.
20          The government did not participate in this case, so this Hanlon factor is not a
21   consideration for this motion. Askar v. Health Providers Choice, Inc., 2021 WL 4846955, at *4
22   (N.D. Cal. Oct. 18, 2021) (noting a lack of government participation and not weighing this factor
23   in granting final approval). Google will provide CAFA notice, and the parties will provide the
24   Court with information regarding any responses to such notice.
25                  8.      The reaction of the class members to the proposed settlement.
26          This factor is not considered where there is no notice. Lilly v. Jamba Juice Co., 2015 WL
27   2062858, at *4 (N.D. Cal. May 4, 2015) (“[B]ecause the Court previously decided in its
28   preliminary approval that notice was not necessary, the reaction of the class is not considered in
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 1   weighing the fairness factors.”). As one reference point, the class representatives fully support
 2   the Settlement. See Class Rep. Declarations.
 3          C.      Final approval is also warranted under Rule 23(e)(2).
 4                  1.      Class representatives and Class Counsel adequately
                            represented the class.
 5
            Final approval is warranted under Rule 23(e)(2)(A), which considers the adequacy of
 6
     representation by the class representatives and their attorneys. This factor includes “the nature
 7
     and amount of discovery” undertaken. Fed. R. Civ. P. 23(e)(2)(A) advisory committee’s note to
 8
     2018 amendment. The class representatives and their attorneys have provided relentless,
 9
     excellent representation for over three years, fully satisfying this requirement. Morrison v. Ross
10
     Stores, Inc., 2022 WL 17592437, at *3 (N.D. Cal. Feb. 16, 2022) (Gonzalez Rogers, J.) (finding
11
     that “the representative parties and class counsel have fairly and adequately represented the
12
     interests of the Class” in granting approval of an injunctive-relief-only settlement).
13
            The class representatives were integrated into and involved with this litigation, reviewing
14
     and approving key filings and strategy decisions. Mao Dec. ¶ 13. Plaintiffs each responded to 17
15
     interrogatories, 34 requests for production, and 55 requests for admission. Id. The class
16
     representatives also each sat for deposition. Id. Productions involved imaging each of their
17
     personal devices, negotiating search terms, and reviewing those documents before production.
18
     Id. The class representatives also participated in the Special Master process, which involved data
19
     collection from their devices, retrieving account information and settings, and culling through
20
     data to enable the experts and consultants to complete their analyses. Id. Plaintiffs remained
21
     involved with the mediation process and agreed that the injunctive relief that was obtained is the
22
     relief they sought by initiating and joining this litigation. See Class Rep. Declarations.
23
            As detailed in the Background, Class Counsel zealously represented the classes
24
     throughout this litigation and in obtaining this Settlement. Class Counsel brought this case to the
25
     cusp of trial, settling only after extensive discovery and the Court’s pretrial conference where
26
     jury instructions, motions in limine, witness lists, and exhibit lists were subject to the Court’s
27
     scrutiny and through extensive mediation efforts. Class Counsel advanced more than seven
28
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 1   million dollars in litigation expenses and over 75,000 attorney hours on behalf of the classes with
 2   no assurances that those expenses would be reimbursed. Mao Decl. ¶ 14. These efforts were
 3   entirely self-funded without any third-party financing agreements. Id.
 4                   2.      The parties negotiated the settlement at arm’s-length.
 5           Final approval is also warranted under Rule 23(e)(2)(B), which considers whether the
 6   settlement was negotiated at arms-length. Fed. R. Civ. P. 23(e)(2)(B). The Ninth Circuit has
 7   “identified three . . . signs [of collusion]: (1) ‘when counsel receive[s] a disproportionate
 8   distribution of the settlement’; (2) ‘when the parties negotiate a ‘clear sailing arrangement,’; and
 9   (3) ‘when the agreement contains a ‘kicker’ or ‘reverter’ clause.’” Briseño v. Henderson, 998
10   F.3d 1014, 1023 (9th Cir. 2021) (citing In re Bluetooth Headset Products Liability Litig., 654
11   F.3d 935, 947 (9th Cir. 2011)). All requirements are met in this case, even if inapplicable.
12   Campbell v. Facebook, Inc., 2017 WL 3581179, at *5 (N.D. Cal. Aug. 18, 2017) (“Arguably,
13   [the] Bluetooth [collusion analysis] is not even applicable to this settlement because it does not
14   involve a Rule 23(b)(2) damages class.”); see also Moreno v. S.F. Bay Area Rapid Transit Dist.,
15   2019 WL 343472, at *3 n.2 (N.D. Cal. Jan. 28, 2019).
16           The extensive discovery and motions practice in this case reflect an arm’s length process.
17   Wannemacher v. Carrington Mortg. Servs., LLC, 2014 WL 12586117, at *8 (C.D. Cal. Dec. 22,
18   2014); see also Moreno, 2019 WL 343472, at *5. Any concerns of collusion are further assuaged
19   where, as here, the Settlement was reached only after class certification. Cf. In re Volkswagen
20   “Clean Diesel” Mktg., Sales Prac., & Prod. Liab. Litig., 895 F.3d 597, 610–11 (9th Cir. 2018).
21   Before any settlement negotiations commenced, the Court resolved multiple motions to dismiss,
22   dozens of discovery disputes, two sanctions motions, class certification, and summary judgment.
23   Mao Decl. ¶ 11. Only after the Court’s denial of Google’s motion for summary judgment did the
24   parties begin discussing potential resolution of this litigation. Ex. 1 at 2.
25           Judge Phillips’ participation in the parties’ extensive mediation further demonstrates the
26   arm’s-length nature of this Settlement. The “involvement of a neutral or court-affiliated mediator
27   or facilitator in [the parties’] negotiations may bear on whether they were conducted in a manner
28   that would protect and further the class interests.” Rule 23(e)(2)(B) advisory committee’s note
                                                     23
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 1   to 2018 amendment; accord Pederson v. Airport Terminal Servs., 2018 WL 2138457, at *7 (C.D.
 2   Cal. Apr. 5, 2018). Here, the parties finalized this Settlement after six months of extensive
 3   mediation supervised by (Ret.) Judge Phillips. Mao Decl. ¶ 10. With the assistance and
 4   supervision of Judge Phillips, the parties established a framework for the potential injunctive
 5   relief and, over the next few months, exchanged numerous proposals and counterproposals. Id.
 6          None of the remaining warning signs of collusion are present. Plaintiffs will file a motion
 7   for an award of attorneys’ fees, costs, and service awards, and Google is free to contest the
 8   reasonableness of the amounts requested. There is no “clear sailing” arrangement, nor is there a
 9   settlement fund from which unawarded money will revert to Google. The facts support final
10   approval. See, e.g., Lim v. Transforce, Inc., 2022 WL 17253907, at *12 (C.D. Cal. Nov. 15,
11   2022); Lusk v. Five Guys Enters. LLC, 2022 WL 4791923, at *9 (E.D. Cal. Sep. 30, 2022).
12                  3.      The substantial relief obtained for the class.
13          Final approval is also warranted under Rule 23(e)(2)(C), which considers the relief
14   provided to the class. As set forth above, Plaintiffs respectfully submit that the relief provided by
15   the Settlement is exceptional. It far exceeds any requirements in terms of reasonableness and
16   adequacy, particularly in light of expedited process for obtaining that relief, with Google already
17   making changes to its disclosures. That Settlement provides immediate and valuable relief for all
18   class members while avoiding the risks and delay of trial, post-trial motions, potential
19   decertification, and appeals. Because there are no monetary benefits, there is no method of
20   distribution to consider. The parties have agreed to abide by the Court’s ruling on attorneys’ fees,
21   costs, and service awards, which will be paid by Google without in any way depleting or
22   modifying the relief to be provided to class members or their right to separately seek monetary
23   relief. Because the proposed relief is more than adequate, the proposed settlement passes muster
24   under Rule 23(e)(2)(C). See Morrison, 2022 WL 17592437, at *4.
25                  4.      The settlement treats all class members equally.
26          Final approval is also warranted under Rule 23(e)(2)(D), which considers whether the
27   proposed settlement “treats class members equitably relative to each other.” Fed. R. Civ. P.
28   23(e)(2)(D). “Matters of concern could include whether the apportionment of relief among class
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 1   members takes appropriate account of differences among their claims, and whether the scope of
 2   the release may affect class members in different ways that bear on the apportionment of relief.”
 3   Fed. R. Civ. P. 23(e)(2)(D) advisory committee’s note to 2018 amendment. Here, the Settlement
 4   treats all class members the same, with valuable injunctive relief that applies equally to every
 5   class member. Pursuant to this Settlement, Google is undertaking concrete and significant efforts
 6   to delete and remediate data for all class members, to limit data collection going forward, to
 7   change its disclosures, and to prevent further use of the detection bits—changes designed to hold
 8   Google accountable and enhance transparency going forward for the benefit of all class members.
 9   This fully meets the requirements of Rule 23(e)(2)(D). See Morrison, 2022 WL 17592437 at *5;
10   see also In re Google LLC St. View Elec. Commc’ns Litig., 611 F. Supp. 3d 872, 895 (N.D. Cal.
11   2020), aff’d sub nom. In re Google Inc. St. View Elec. Comm’ns Litig., 21 F.4th 1102 (9th Cir.
12   2021) (noting that each member benefited equally from the injunctive relief).
13   V.     CONCLUSION
14          For these reasons, Plaintiffs respectfully request that the Court grant this motion for final
15   approval of the Settlement.
16
     Dated: April 1, 2024
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